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 8

 9                                UNITED STATES DISTRICT COURT

10                    EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION

11   In re:                                             Case No. 1:24-cv-01102-KES-SAB

12   THE PRUDENTIAL INSURANCE
     COMPANY OF AMERICA; AND PGIM                       MEMORANDUM OF POINTS AND
13   REAL ESTATE FINANCE, LLC                           AUTHORITIES IN SUPPORT OF EX
                                                        PARTE APPLICATION FOR LEAVE TO
14                           Plaintiff(s).              INTERVENE PURSUANT TO FED. R.
     v.                                                 CIV. PROC. 24 FOR THE LIMITED
15                                                      PURPOSE OF OBJECTION TO THE
     ACDF, LLC; ASSEMI AND SONS, INC.;                  PROPOSED    ORDER    APPOINTING
16   AVILA RANCH EA, LLC; BEAR FLAG                     RECEIVER      WITH      LIMITED
     FARMS, LLC; C & a FARMS, LLC;                      AUTHORITY BY INTERESTED THIRD
17   CANTUA ORCHARDS, LLC; DA REAL                      PARTY AND POTENTIAL INTERVENOR
     ESTATE HOLDINGS, LLC; FAVIER                       KEVIN ASSEMI
18   RANCH, LLC; FG2 HOLDINGS, LLC;
     GRADON FARMS, LLC; GRANVILLE                                      [DKT NO. 33]
19   FARMS, LLC; GRANTLAND HOLDINGS
     NO. 1, LLC; GRANTLAND HOLDINGS NO.                 Action filed: September 16, 2024
20   2, LLC; GRANTOR REAL ESTATE
     INVESTMENTS, LLC; GVM
21   INVESTMENTS, LLC; GV AG, LLC;
     LINCOLN GRANTOR FARMS, LLC;
22   MARICOPA ORCHARDS, LLC; PANOCHE
     PISTACHIOS, LLC; SAGEBERY FARMS,
23   LLC; DEREB BELL; AND RACHEL MARIE
     WHITE,
24
                               Defendants.
25
          Memorandum of Points and Authorities in Support of Ex Parte Application to Intervene - 1
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 1
         MEMORANDUM OF POINTS AND AUTHOIRITIES IN SUPPORT OF EX PARTE
 2
                APPLICATION TO INTERVENE AND FILE LIMITED OBJECTION
 3
          A. INTRODUCTION AND FACTUAL BACKGROUND
 4
              Elevated Ag, LLC is a duly organized and existing California limited liability company
 5
     which owns certain agricultural real property in Kern County the planted acres bear Kern County
 6
     Assessor’s Parcel Numbers 220-211-24 and 220-050-71 (“EA Property”). The EA Property
 7
     consists of approximately 400 acres planted with valuable citrus fruit trees.
 8
              Defendant Maricopa Orchards, LLC, is a member of Elevated Ag, LLC. Keven Assemi,
 9
     the proposed intervening party (“Proposed Intervenor”), is also a member of Elevated Ag, LLC,
10
     and believes he is the managing member thereof.1 Maricopa Orchards, LLC, has been
11
     responsible to manage the fruit trees on the EA property and is responsible to its co-members for
12
     the planting, care, and harvesting of the fruit trees.
13
              Defendant Maricopa Orchards, LLC, in seeking funding from Plaintiffs, directed
14
     Proposed Intervenor, on behalf of Elevated Ag, LLC, to pledge the EA Property as security for
15
     loans from the Plaintiff. On March 11, 2022, Proposed Intervenor complied, giving Prudential
16
     Insurance Company of America a security interest in the EA Property in order to secure the loan
17
     for Defendant Maricopa Orchards, LLC.2 Historically, agreement by Maricopa Orchards, LLC
18

19
     1
       Both the precise amount of Kevin Assemi’s membership interest and whether he is manager is the subject of a
20   separate litigation matter. (See Assemi v. Assemi, et al., Case No. 1:23-CV-01741 in this Court.)
     2
21     Though not naming Elevated Ag, LLC, Plaintiffs Complaint makes reference to Elevated’s role. See e.g. Exhibit
     3, document 1-3 filed September 16, 2024, at p. 25 of 95 Deed of Trust, Security Agreement, Crop Filing and
     Fixture Filing With Assignment of Rents and Proceeds, Leases and Agreements. P. 3 of 28 of that Exhibit references
22   the “Kern Deed of Trust” as that which was executed by, inter alia, Elevated Ag, LLC in favor of Plaintiff Prudential
     Insurance Company of America. See also Document 1-4 filed September 16, 2024, at p. 46 of 83 Deed of Trust,
23   Security Agreement, Crop Filing, and Fixture Filing with Assignment of Rents and Proceeds, Leases and
     Agreements executed by Proposed Intervenor Kevin Assemi for Elevated Ag, LLC, which is identified at p. 4 of 21
     of that document as the “Non-Borrower Trustor.” This deed of trust has since been released.
24

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         Memorandum of Points and Authorities in Support of Ex Parte Application to Intervene - 2
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 1   was that loan proceeds would benefit Elevated Ag, LLC because Maricopa Orchards, LLC would

 2   use its share of funds to fulfill its duties and obligations to provide funding for completing

 3   plantings, culture costs to farm, install needed weather protecting infrastructure, and ensure

 4   adherence to its specialized farming methodology and harvest methodology through Elevated

 5   Ag on the EA Property. Specifically Prudential, through its agent Bill Sciacqua, committed that

 6   in return for providing its properties to allow for contemplated March 2022 loan that Prudential

 7   would separate out and provide a siloed loan for Elevated Ag to directly fund the before

 8   mentioned actions. But despite obtaining appraisal at the direction of Prudential, and obtaining

 9   approval for the loan, it was not funded.

10            On March 28, 2022, Plaintiff Prudential Insurance Company of America recorded UCC

11   Financing Statement No. U22017898842 listing, among many others, Defendant Maricopa

12   Orchards, LLC as a debtor and securing to itself interests in substantial amounts of real property

13   in both Fresno and Kern Counties, California. Amongst the properties secured by the Plaintiff’s

14   financing statement. 3

15            Furthermore, the Plaintiff agreed too—and very nearly provided—loans to Elevated Ag,

16   LLC to assist it in its farming operations. Thereafter, when certain conduct of some of the

17   defendants hereto came to light, Plaintiffs canceled the pending loan to Elevated Ag, LLC

18   claiming that the owners of Maricopa Orchards, LLC had refused to sign release of Elevated

19   Ag’s properties for approved loan)Additionally, in the intervening period Defendant Maricopa

20   Orchards, LLC, has utterly failed and refused to maintain and care for the citrus fruit trees on

21   the EA Property. This has resulted in catastrophic crop failure in 2023 (2023-2024) alone.

22

23
     3
       The Plaintiff’s financing statement has four separate documents claiming to be Exhibit “A.” The first Exhibit ‘A”
24   lists over 200 parcels in Fresno County, while the second Exhibit “A” lists approximately 50 parcels in Kern County.
     It is this second Exhibit A, at p. 24 of 25 which identifies the EA Property as Parcel no. 48.
25
         Memorandum of Points and Authorities in Support of Ex Parte Application to Intervene - 3
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 1          Compounding the problem is that Plaintiff’s vestigial UCC-1 lien against the EA

 2   Property has never been released, despite the fact that it released the EA Property from its

 3   previously granted deed of trust executed by Elevated Ag as a non-debtor Trurstor. But owing

 4   to the cancellation of the loan to Elevated Ag, and due to the remaining UCC-1 financing

 5   statement encumbering the EA property, Proposed Intervenor has been completely unable to

 6   obtain financing necessary to try to save what remains of the crops. This is critical because

 7   Defendant Maricopa Orchard, LLC has refused to apply loan proceeds received from Plaintiff

 8   (via the EA Property among others) to care for the crops, and has refused to provide essential

 9   information, requested from financers and necessary to Proposed Intervenor’s assumption of the

10   care and management of the EA property.

11          Pursuant to the Operating Agreement of Elevated Ag, LLC, in the event a member

12   encounters certain circumstances, including appointment of a receiver, any other member has a

13   right to purchase the membership interests of that member. This lawsuit and the motion for the

14   appointment of a receiver for Defendant Maricopa Orchards, LLC, triggers the rights of

15   Proposed Intervenor to buy those membership interests, which is utterly critical at this point in

16   order to assume management of Elevated Ag, LLC, and thus the rescue of the dying citrus crop

17   on the EA Property. Proposed Intervenor and Elevated Ag, LLC, are pursuing state law claims

18   outside of this litigation, but germane to this application is that Defendant Maricopa Orchards,

19   LLC has failed to properly manage and care for the citrus trees on the EA Property to the degree

20   that the trees have suffered severe sunburn, catastrophic damage to approximately 50% of the

21   fruit crop. Without immediate corrective action this will result in the loss of nearly all the crop

22   and, as all other parties have noted in their September motions and at the September hearing,

23   would result in irreparable harm to the trees themselves. This would affect not only Prudential’s

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       Memorandum of Points and Authorities in Support of Ex Parte Application to Intervene - 4
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 1   collateral, but also to collateral securing other lenders and properties that are not collateral nor

 2   have been provided notice.

 3          Proposed Intervenor therefore seeks to intervene in this action to ensure that any receiver

 4   sought by Plaintiff appointed to manage the agricultural operations of Defendant Maricopa

 5   Orchards, LLC, be required to include in their duties the care and a management of the EA

 6   Property, including the crops thereon. This is only right and just, as Plaintiff has maintained a

 7   security interests on the EA Property, while not providing needed financing promised to Elevated

 8   Ag, LLC, which security interest has prevented Proposed Intervenor from securing alternate

 9   sources of funding to save the dying citrus crop.

10          Finally, the Receiver should be required to include in their receivership reports

11   beneficiaries of the various family trusts and entities as interested parties, of whom Proposed

12   Intervenor is one. It is critical that Proposed Intervenor and others with interests in the outcome

13   of this litigation know what is happening with their family’s assets and have access to

14   information regarding litigation and negotiations that may result the loss of all of the corpus of

15   their family trusts. For example, Proposed Intervenor has not once been provided notice of the

16   default on loans of more than $700M subject of this litigation, and the resulting potential of

17   selling off collateral. Nor has notice been provided by those seeking guarantees to attack all

18   assets of the family trusts in which Proposed Intervenor’s takes an interest. Proposed Intervenor

19   stands particularly harmed by the lack of transparency that must be remedied by the Receiver

20   providing information in its possession relative to compliance information needed for the

21   California Fair Political Act, which is legally necessary for Proposed Intervenor as an elected

22   official. The same holds true for information required by Proposed Intervenor which will be in

23   the Receiver’s care and assist Proposed Intervenor in complying with US Treasury laws and

24   regulations, which has thus far been refused by the defendants. Given that these issues of access

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       Memorandum of Points and Authorities in Support of Ex Parte Application to Intervene - 5
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 1   to information for beneficiaries of the family trusts controlling the defendant entities and the

 2   Proposed Intervenor’s stake in needing information to comply with laws has already been raised

 3   in this forum, the order outlining the Receiver’s duties should be clarified to require the Receiver

 4   to include Proposed Intervenor with information to which he is statutorily entitled and lawfully

 5   in need of.

 6       B. GOVERNING LAW

 7            Fed. R. Civ. Proc. 24 provides for mandatory and permissive interventions. Subsection

 8   (a) governs mandatory intervention, also known as intervention of right, and provides in relevant

 9   part: “On timely motion, the court must permit anyone to intervene who … (2) claims an interest

10   relating to the property or transaction that is the subject of the action, and is so situated that

11   disposing of the action may as a practical matter impair or impede the movant's ability to protect

12   its interest, unless existing parties adequately represent that interest.”

13            In determining whether to permit intervention, a court is “guided primarily by practical

14   considerations, not technical distinctions,” and “the requirements are broadly interpreted in favor

15   of intervention.” See Citizens for Balanced Use v. Montana Wilderness Ass’n., 647 F.3d, 893,

16   897 (9th Cir. 2011). The Ninth Circuit has held that FRCP 24(a) should be construed “liberally

17   in favor of potential intervenors.” State ex.rel. Lockyer v. Chao, 450 F.3d 436, 440 (9th Cir.

18   2006).

19            The Ninth Circuit has adopted a four-part test to determine if intervention is appropriate:

20   “(1) the motion must be timely; (2) the applicant must claim a ‘significantly protectable’ interest

21   relating to the property or transaction which is the subject of the action; (3) the applicant must

22   be so situated that the disposition of the action may as a practical matter impair or impede its

23   ability to protect that interest; and (4) the applicant’s interest must be inadequately represented

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       Memorandum of Points and Authorities in Support of Ex Parte Application to Intervene - 6
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 1   by the parties to the action.” Wilderness Soc. v. U.S. Forest Serv., 630 F.3d 1173, 1177 (9th Cir.

 2   2011) (citation omitted). Proposed Intervenor easily meets all four prongs.

 3

 4       C. ANALYSIS

 5           The first prong is whether the motion is timely. This action was originally filed by

 6   Plaintiffs on September 14, 2024. In its Order Granting Joint Administrative Motion to Continue

 7   Receivership Hearing and Associated Briefing Schedule (Dkt. No. 61) the Court extended until

 8   October 25, 2024, the deadline to file any pleadings opposing the continuation of the

 9   receivership. Proposing Intervenor is presenting its Ex Parte Application to Intervene for the

10   limited purpose of objection to the receiver’s appointment only insofar as the Receiver fails to

11   include in its duties the management, care, and protection of the EA Property. This motion is

12   therefore timely.

13           The second prong is that Proposing Intervenor must claim a significantly protectable

14   interest relating to the property or transaction which is the subject of the action. Proposed

15   Intervenor is an interest holder in Elevated Ag, LLC, by virtue of his ownership of a substantial

16   portion of the membership interests therein. The primary asset of Elevated Ag, LLC, is the 499

17   acres of valuable agricultural land that is the EA Property. The main value of the EA Property is

18   the citrus trees and the crops those trees produce. Although appointment of a Receiver for

19   Maricopa Orchards, LLC, along affords Proposed Intervenor the right to buy out its interests in

20   Elevated Ag, LLC (a significantly protectable interest by itself), he is also, in his present position

21   as a member of Elevated Ag, LLC, interested in the catastrophically neglected and dying citrus

22   crop. This too presents a significantly protectable interest in the property subject of the action.

23   Finally, Proposed Intervenor is among the types of non-defendant persons or entities who are

24   entitled to certain reporting information from the defendants in order to comply with various

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       Memorandum of Points and Authorities in Support of Ex Parte Application to Intervene - 7
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 1   laws, including tax and election laws. Failure to comply with these laws presents serious risks

 2   of criminal and civil liability, so it is critical that the named defendants, and any Receiver

 3   appointed to manage the operations thereof, be directed to comply with the reporting or

 4   provision of interested non-defendant parties and entities.

 5              The third prong requires that the Proposed Intervenor be so situated that disposition of

 6   the action may, as a practical matter, impair or impede his ability to protect that interest. The

 7   raised objection here is very limited—that any order continuing the Receiver’s duties extend to

 8   and include the requirement that the Receiver care for and maintain the EA Property to prevent

 9   further catastrophic and irreparable harm to the crops. Furthermore, the Receiver should be

10   ordered to comply with any and all laws governing the sharing or provisions of information

11   necessary for non-defendant entities and persons to comply with laws, including tax and election

12   laws. If the duties of the Receiver are not clearly defined to include these features, Proposed

13   Intervenor will be unable to protect his interests, either in Elevated Ag, LLC, or as a law-abiding

14   citizen.

15              The fourth and final prong requires that the Proposed Intervenor be inadequately

16   protected by those who are already parties to the action. Proposed Intervenor’s connection with

17   this case comes through Defendant Maricopa Orchards, LLC, another membership holder in

18   Elevated Ag, LLC. That entity, whose responsibilities included the care and management of the

19   primary asset of Elevated Ag, LLC, the EA Property, has wholly failed in its duties. In fact, it

20   has operated against Elevated Ag, LLC’s interest by requiring Proposed Intervenor to pledge a

21   security interest in the EA Property without ensuring that the EA Property was served by those

22   funds. It has further neglected the citrus crop, which has directly resulted in the loss of

23   approximately 50% of the current citrus crop, and may result in permanent and irreparable

24   damages to the citrus trees. Finally, it has failed to provide information and reports necessary to

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       Memorandum of Points and Authorities in Support of Ex Parte Application to Intervene - 8
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 1   Proposed Intervenor to fulfill his legal obligations, including certain reporting requirements

 2   associated with tax and election laws.

 3          Proposed Intervenor has attempted to secure assurances from the Receiver that the EA

 4   Property will be cared for and managed pursuant to the Order, but thus far has received no

 5   response, leading Proposed Intervenor to this step.

 6      D. CONCLUSION

 7          For the reasons set forth hereinabove, Proposed Intervenor Kevin Assemi has a

 8   significant property interest in Elevated Ag, LLC, whose primary asset is the EA Property.

 9   Defendant Maricopa Orchards, LLC, has wholly failed to perform its duties to protect the EA

10   Property, and particularly the fruit trees and fruit harvest thereon, and if those assets are not

11   included within the Receiver’s remit, there is a substantial risk the entire crop will be destroyed

12   and the fruit trees irretrievably damaged. Proposed Intervenor also seeks to ensure any Order

13   pertaining to the Receiver’s duties provide for the provision of information and reporting

14   necessary to non-defendant entities and persons to comply with all applicable laws, regulations,

15   statutes, and ordinances, including tax and election laws.

16

17   Dated: October 25, 2024

18                                                         /s/ Peter A. Sauer
                                                   Peter A. Sauer, attorney or Kevin Assemi,
19                                                 Interested Party and Proposed Intervenor

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       Memorandum of Points and Authorities in Support of Ex Parte Application to Intervene - 9
